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COZEN O’CONNOR

Jonathan Cavalier (PA #206063)
1650 Market Street, Suite 2800
Philadelphia, PA 19103
P: 215-665-2000
F: 215-665-2013
jcavalier@cozen.com
Attorney for Defendants
The Middle East Forum
and Gregg Roman


                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

 LISA BARBOUNIS                                   :
                                                  :
                           Plaintiff,             :
 -vs-                                             :   CIVIL ACTION NO. 2:19-cv-05030-JDW
                                                  :
 THE MIDDLE EAST FORUM,                           :
 DANIEL PIPES (individually),                     :
 GREGG ROMAN (individually), and                  :
 MATTHEW BENNETT (individually)                   :
                                                  :
                           Defendants.            :

                     CERTIFICATION OF JONATHAN R. CAVALIER, ESQ

        Pursuant to this Court’s July 23, 2021 Order (ECF No. 141), Jonathan R. Cavalier, Esq.,

counsel for defendants The Middle East Forum (“MEF”) and Mr. Gregg Roman (“Mr. Roman”)

(“Defendants”), hereby certifies as follows:

        1.         I am an attorney and member of the law firm of Cozen O’Connor with nearly

fourteen (14) years of experience in labor and employment litigation.

        2.         I am lead counsel for defendant The Middle East Forum and co-counsel for

defendant Mr. Roman in the above captioned action.

        3.         I took over as lead counsel in the above-captioned action in January 2021

following the departure of former lead counsel David J. Walton from Cozen O’Connor.


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        4.         Leigh Ann Benson, an attorney at Cozen O’Connor, was formerly my co-counsel

on this matter until she transferred from the litigation to another non-litigation role at the firm.

        5.         At the outset of the matter, Counsel worked with the client to identify and collect

over 500,000 electronic documents and files (“ESI”) from various custodians and data sources

totaling roughly 95GBs.

        6.         The ESI was then loaded into a Relativity database using industry standard

processing specifications including deNISTing and global de-duplication. No search terms or

other pre-culling methods were applied to the ESI at this stage.

        7.         Counsel then worked closely with the client to identify a “seed set” of documents

responsive to Plaintiff’s discovery requests.

        8.         Counsel then leveraged Relativity’s “categorization analytics” and the seed set of

responsive documents to identify documents within the corpus of ESI for attorney review. This

process resulted in over 41,000 documents for review.

        9.         Counsel then leveraged Relativity’s “continuous active learning” (“CAL”)

document review workflow (also, commonly referred to as “predictive coding 2.0”) to review the

documents.

        10.        Using CAL, Counsel reviewed 14,237 documents within the CAL workflow and

completed “elusion testing” to confirm that all responsive documents had been identified.

        11.        Counsel then produced 3,514 responsive documents through a series of rolling

productions.

        12.        Pursuant to this Court’s Orders of June 26 and July 23, 2021, counsel leveraged a

second “continuous active learning” document review workflow across 16,867 documents.




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        13.        Using this CAL workflow, Counsel reviewed 4,213 documents and completed

“elusion testing” to confirm that all responsive documents had been identified

        14.        Following this most recent review, Defendants will produce another 123

documents today—August 6, 2021.

        I hereby certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements made by me are willfully false, I am subject to punishment.

                                               Respectfully submitted,


Dated: August 6, 2021                          COZEN O’CONNOR

                                               s/Jonathan R. Cavalier
                                               Jonathan R. Cavalier (PA #206063)
                                               Cozen O’Connor
                                               1650 Market Street, Suite 2800
                                               Philadelphia, PA 19103
                                               jcavalier@cozen.com
                                               P: (215) 665-2000

                                               Attorney for Defendants
                                               The Middle East Forum and Mr. Gregg Roman




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